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UMITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION
UNITED STATES OF AMERICA,
Paaintiff Crimi No. 03-80810 O15 X TORY)
v. Howoreble Gerakl E, Rogen
T-1 AHMAD MUSA JESRIL,
D-2 MUSA ABDALLAH JEBRIL,
Petre dante. c d
/ “
en a
ZXINAJEBRIL'SPETTTIONTO 0 te!
ADJUDICATE THE VALIDITY OF = S5G la
HER INTEREST IN lO mn
4957 ROSALTE, DEARBORN, MICHIGAN i ze TJ
ene
NOW COMES Patkioner, Zeina Jebril states tha following: x &

1, have howa Frying in 4057 Rosalie, Dearborn, Michigan for the lun 19 years and

Tueve paid al] of the ines, Insurance, ropalrs, ete. related to thla property,

Z, On Januery 29, 1993, TE received a quit claim deed Bey thin property,

3. My mierest in the aubject property is based on the fact that I have lived there for

"29 years and paid for af] related expenses to the houve and that the ttle in in omy name,

Additionally, { have cantributed to paymants on the lomne secured by the property,

4. Sated on my onerdhip Interest in the subject property, the property camnar be
forfeited to the govermment.
5,

Porsuant to 21 U.3.C. "833(nOWA) cod (B), | have a fogal right, tste and/or
interes! tecognized by law that is suportor tn thet of che Deteadants at the time the alleged

coumiaden ofthe sota occurred which gave rue io this forferturs sod/or | am a bona fide

 

 
 

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purchaser ofthe subject property without reason to boliove that the & propeny was subject ta

 

forforure,

WHEREFORE, Petitioner, Zeina Jobril, seeks to have het ovmership interest in the
subject property ndjadicated by the Courts and have the forftiture actiow against this prtporty
disomiused in ite entirety.

I deckro, under penaky of Pesjury, that the ficts contained mm this Petition are true to the best of
ny ability and information.

fee bee

has Wome Api

Public,
‘eortsin aier z43/

 

Dited: April 15, 2003

 

 

 

 
